 

AO 451 (Rev. 12/12) Clerk’s Certif'lcation of a Judgment to be Registered in Another District

 

  

UNITED STATES DISTRICT COURT

 

 

for the
Sarah Padi||a )
Plaintijj" ) .
v. ) Civil Action No. 14-cv-02556-RBJ-CBS
ACS Recovery,|nc and Matthew C|ass )
Defena'ant )

CLERK’S CERTIFICATION OF A JUDGMENT TO BE REGISTERED IN ANOTHER DISTRICT

l certify that the attached judgment is a copy ofa judgment entered by this court on (date) 10/16/2015 .

I also certify that, as appears from this court's records, no motion listed in Fed. R. App. P. 4(a)(4)(A) is pending
before this court, the time for appeal has expired, and no appeal has been filed or, if one was filed, it is no longer
pending.

Date: 12/11/2015
CLERK OF COURT

 

 

' ‘ Case 1:16-mc-00006-L.]V Document 1 Filed 02/22/16 Pa e 2 0f3
Case 1:14-cv-02556-RBJ-CBS Document 41 Filed 10/16/15 USDC Co orado Page 1 of 2

|N THE UN|TED STATES DlSTR|CT COURT
FOR THE DlSTR|CT OF COLORADO

Civi| Action NO. 14-CV-02556-RBJ-CBS
" 918 ,cw-k mm

Uaited Staees - '
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Acs REcovERY, iNc., and ,,.. °'SW
MATTHEW cLAss, ‘ ; s ~ q

Defendant.

 

DEFAULT JUDGMENT

 

|n accordance with the orders filed during the pendency of this case, and
pursuant to Fed. R. Civ. P. 55(b), the following Defau|t Judgment is hereby entered

Pursuant to the Order Granting P|aintiff’s Second |Vlotion for Defau|t Judgment
[ECF No. 40] of Judge R. Brooke Jackson entered on September 25, 2015, it is

ORDERED that default judgment is hereby entered in favor of P|aintiff Sarah
Padi||a and against Defendants ACS Recovery, |nc. and N|atthew C|ass, as follows:

a. FDCPA Statutory Damages $1,000.00

b. Attorney’s Fees $4,665.00

c. Costs $17.50

TOTAL $5682.50. lt is further

ORDERED that post-judgment interest shall accrue on the amounts awarded in

this matter at the legal rate of 0.27 % per annum from the date of entry ofjudgment.

v,
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Dated at Denver, Co|orado this 16th day of October, 2015.

v FOR THE COURT:
JEFFREY P. COLWELL, CLERK

s/Ju|ie Dynes

 

Ju|ie Dynes
Deputy C|erk

